               Case 2:19-cr-00003-LGW-BWC Document 20 Filed 02/12/19 Page 1 of 2

 AO 98(Rev. 12/11)Appearance Bond



                                  United States District Court
                                                                   for the

                                                Southern        District of         Georgia



                  United States of America
                               V.

                                                                               Case No.        2:19-cr-3

                        Vincent Sanders
                            Defendant

                                                        APPEARANCE BOND


                                                        Defendant's Agreement
 I,                         Vincent Sanders                            (defendant)^ agree to follow every order ofthis court, or any
 court that considers this case, and I further agree that this bond may be forfeited ifI fail:
            (13)to appear for court proceedings;
            (13) ifconvicted,to surrender to serve a sentence that the court may impose; or
            (13)to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                              Type of Bond
(n)(1) This is a personal recognizance bond.

( )(2) This is an unsecured bond of$                                                         .

( X)(3) This is a secured bond of$                $25,000.00                         ,secured by:

       ( □ ) (a) $                                    , in cash deposited with the court.

        ( X) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
          □
                (describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
                ownership and value)'.
                       $25,000.00

                If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        ( CH ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                  Forfeiture or Release of the Bond


 Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
 agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
 security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
 may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
 interest and costs.
              Case 2:19-cr-00003-LGW-BWC Document 20 Filed 02/12/19 Page 2 of 2
                                                                                                                       Page 2




AO 98(Rev. 12/11) Appearance Bond




Release ofthe Bond, The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either:(1)the defendant is found not guilty on all charges, or(2)the defendant reports to
serve a sentence.


                                                       Declarations

Ownership ofthe Property. I, the defendant- and each surety — declare under penalty of peijury that:
        (1)     all owners ofthe property securing this appearance bond are included on the bond;
        (2)     the property is not subject to claims, except as described above; and
        (3)     I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
                while this appearance bond is in effect.

Acceptance. I, the defendant- and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant- and each surety - declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)


Date:     2/12/2019
                                                                                     Defendant's signature


        161% C^lvOr
                      Defendant'sadness                                          Defendant's telephone number


 ^0^1 \J      Surety/property owner —printed name                               Surety/property owner — signature




                Surety/property owner — address                             Surety/property owner — telephone number



                                                               CLERK OF COURT




Date:24tz4_L3
Approved.

Date:     \^l\\
                                                                     BENJAMIN W. CHEESBRO, U.S. MAGISTRATE JUDGE
